Case 4:09-cr-00043-SPF Document 40-2 Filed in USDC ND/OK on 04/15/09 Page 1 of 2

Hall, Kathie (USAOKN)

From: Oscar Stilley [oscar@oscarstilley.com]

Sent: Wednesday, April 15, 2009 11:39 AM

To: lindsey@mindspring.com; Hall, Kathie (USAOKN)

Ce: robtBurton@aol.com; law@trsviaw.com; Snoke, Ken (USAOKN); O'Reilly, Charles A. (TAX)
Subject: U.S. v. Springer, Stilley, Case No, 09-CR-043-SPF, motion to unseal

| agree with Lindsey.

Oscar Stilley
os

Oscar Stilley, Attorney at Law
7103 Race Track Loop

Fort Smith, AR 72916

(479) 996.4109 phone

(479) 996.3409 fax
oscar@oscarstilley.com

www.oscarstilley.com

IMPORTANT: The information contained in this email message is intended only for the individual/entity named herein. If
the reader of this message is not the intended recipient, or the employee or agent responsible to deliver it to the intended
recipient, you are hereby notified that any dissemination, distribution, or copying of this communication is strictly
prohibited. If you have received this communication in error, please immediately notify us by telephone and destroy all
originals and copies of this message. Receipt by anyone other than the intended recipient is not a waiver of any attorney-
client or work product privilege. Footnote 1: [Suspended from Arkansas courts pending disbarment, principally for the
alleged offense of criticizing the government. Suspended in some but not all other jurisdictions to which Attorney is
admitted. Ask for details, it’s complicated. ]

From: lindsey@mindspring.com [mailto:lindsey@mindspring.com]

Sent: Wednesday, April 15, 2009 11:05 AM

To: Hall,Kathie (USAOKN); Oscar Stilley

Cc: robtBurton@aol.com; law@trsviaw.com; Snoke,Ken (USAOKN); O'Reilly,Charles A. (TAX)
Subject: Re: U.S. v. Springer, Stilley, Case No, 09-CR-043-SPF

Dear Ms. Kathie Hall, thanks for the heads up. You are cleared to email me. Also, | have already filed a Motion to Unseal and would
guess you filing no opposition would be appropriate. You do whatever you wish but sounds like your motion and my motion are the
same. | am asking for the transcript of the exparte meeting with Ms. Nelson and Magistrate McCarthy dated 9.15.05. along with the
affidavit. | would not have any opposition to your motion as well. Hope you have a goad day. Lindsey Springer

--—Original Message—-—
From: "Hall, Kathie (USAOKN)"
Sent: Apr 15, 2009 9:39 AM

To: lindsey@mindspring.com, oscar@oscarstilley.com
Ce: robtBurton@aol.com, law@trsviaw.com, "Snoke, Ken (USAOKN)* , "O'Reilly, Charlies A. (TAX)"
Subject: U.S. v, Springer, Stilley, Case No. 09-CR-043-SPF

Mr. Springer and Mr. Stilley:

We are planning to file a Motion to Unseal Search Warrant Affidavit and

Proposed Order this date, regarding the search warrant affidavit and

i
ATTACHMENT B
Case 4:09-cr-00043-SPF Document 40-2 Filed in USDC ND/OK on 04/15/09 Page 2 of 2

application in the “matter of the Premises Known as 25758 South 201°
West Avenue, Kellyville, Oklahoma” case number 05-SM-1.

We assume that you will have no objection to this filing. Please advise
your approval, or disapproval, by return email.

Thank you.
Kathie M. Hall, ACP

Legal Assistant, Criminal Division
UNITED STATES ATTORNEY'S OFFICE
110 West Seventh Street, Suite 300
Tulsa, Oklahoma 74119
918.382.2700 X3338

918.560.7954 Fax

ay

This communication is intended for the sole use of the individual to whom it is addressed. This communication is confidential and may contain
information that is privileged and exempt from disclosure under applicabie law. If you are not the intended recipient or the employee or agent
responsible for delivering the communication to the intended recipient, you are hereby notified that any dissemination, distribution, er copying of
this communication is strictly prohibited. If you have received this communication in error, please notify the sender immediately by telephone and
return the communication at the address above via the U.S. Postal Service. Thank you.
